        Case 1:21-cr-00024-TNM Document 84-1 Filed 01/11/22 Page 1 of 20




                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA




 UNITED STATES OF AMERICA

 v.                                          Crim. Action No. 21-24-1 (EGS)

 ROBERT GIESWEIN,

                     Defendant.




      MR. GIESWEIN’S REPLY IN FURTHER SUPPORT OF MOTION FOR
                        TRANSFER OF VENUE
             In his opening motion, Robert Gieswein, through undersigned counsel

requested that the Court transfer the proceedings to another venue pursuant to

Federal Rule of Criminal Procedure 21(a). Def. Mot. to Transfer Venue, ECF No. 64.

In response, the government offers a reading of the transfer standard so narrow that

it would write the codified rule out of existence. Gov’t Resp., ECF No. 72 at 5-6, 13-

14. Ignoring the central purpose of the rule, i.e., ensuring that a defendant has a

realistic chance of avoiding trial by a jury that is unduly biased for any reason at all,

the government promotes a technical reading of Rule 21(a) that renders it applicable

to virtually no set of facts in the modern media landscape. Compare id. (narrowly

construing Fed. R. Crim. P. 21(a)), with In re Murchison, 349 U.S. 133, 136 (“[O]ur

system of law has always endeavored to prevent even the probability of unfairness.

To this end [. . . ] no man is permitted to try cases where he has an interest in the

outcome. That interest cannot be defined with precision. Circumstances and
       Case 1:21-cr-00024-TNM Document 84-1 Filed 01/11/22 Page 2 of 20




relationships must be considered.”); accord Estes v. State of Tex., 381 U.S. 532, 542

(1965) (quoting Murchison as support for the same Due Process proposition in the

Rule 21(a) context). Mr. Gieswein respectfully submits that the Court should reject

the government’s attempt to consign transfers of venue to history.

                                    ARGUMENT
I.    Transfer of venue should be granted because of the concrete,
      particularized, and compounding effects of the events and the media
      on the D.C. jury pool.
      A.     The fact that an event garners national media does not mean that no
             transfer of venue is ever appropriate.
      In its Response, the government offers a narrow reading of Supreme Court case

law from the 1960s to argue that, where media coverage of the alleged crime is

national rather than local, transfer of venue is unavailable. See Gov’t Resp., ECF No.

72 at 5, 13. However, the case law cited in the Response demonstrates that the media

consideration is one of engagement and impact, not mere exposure, as the

government itself notes elsewhere in the Response. See id. at 4 (citing Skilling, 561

U.S. 358, 378 (2010) (“Prominence does not necessarily produce prejudice”); Murphy

v. Florida, 421 U.S. 794, 799 (1975) (“[N]ews accounts of the crime” do not “alone

presumptively deprive[ ] the defendant of due process”); Irvin v. Dowd, 366 U.S. 717,

722 (1961) (explaining that jurors are not required to be “totally ignorant of the facts

and issues involved”)). These cases stand for the proposition that it is not merely the

potential for jurors to be exposed to media reporting that matters, but how

particularized interest might lead residents of certain locales to follow the news more

closely and be more affected by such reporting. Where members of a local jury pool




                                           2
       Case 1:21-cr-00024-TNM Document 84-1 Filed 01/11/22 Page 3 of 20




are more likely to follow and to be persuaded by national media coverage than

residents elsewhere, transfer of venue must remain available.

      The government cites to a Haldeman footnote to attempt to support the

proposition that a defendant’s national prominence cuts against transfer. Gov’t Resp.,

ECF No. 72 at 13 (citing United States v. Haldeman, 559 F.2d 31, 64 n.43 (D.C. Cir.

1976)). Not only is the authority dictum, but a closer read reveals that Mr. Gieswein’s

interpretation of the media coverage factor is correct. 1 Specifically, in Haldeman, the

Court of Appeals for the D.C. Circuit observed that little would be gained by

transferring the case only because nothing about the facts of the case made it likely

that the national media coverage had a greater impact on the D.C. jury pool than the

jury pools in other districts: “a change of venue would have been of only doubtful

value” where the media coverage was national in scope and where the crime was

“simply not a local [one] of peculiar interest to the residents of the District of

Columbia.” 559 F.2d at 64 n.43 (emphasis added).

      Here, by contrast, there are numerous reasons why the media coverage,

including the coverage in the national media, would be of greater interest to D.C.

residents than to those elsewhere, as Mr. Gieswein argued at length in his opening

motion, see Def. Mot. to Transfer Venue, ECF No. 64 at 4-10, and below, infra Part

II. It is simply not enough for the government to cite national media reporting to show




      1 See Def. Mot. to Transfer Venue, ECF No. 64 at 16-17 (arguing that the mere
fact that there has been publicity in two or more districts does not necessarily mean
that the impact to the proceedings is the same in both districts).


                                           3
       Case 1:21-cr-00024-TNM Document 84-1 Filed 01/11/22 Page 4 of 20




that the Rideau media factor cuts against the transfer of venue. Limiting the media

coverage factor to the circumstances of Rideau or Sheppard, i.e., restricting the

availability of a change of venue based in part on media coverage to cases in which

small towns are inundated with news about a prosecution by media with only local

circulation would write the Rule out of existence in today’s environment, and in any

market dominated by news that happens to also be national. Not only would this

surely contravene the Rule drafter’s intent, but it would violate the principles of Due

Process reflected in the Rule.

      B.     The circumstances in this case are distinguishable from those in the
             D.C. Circuit cases relied upon by the government.
      In the Response, the government addresses the factors Mr. Gieswein submits

in favor of transfer independently, rather than analyzing their cumulative effect. This

cumulative effect is not present in any of the cases that the government offers for

support.

      First, the government cites to Haldeman to address political injury, but

Haldeman did not involve any particularized or concrete injury to individual voters.

Nor did it involve any alleged physical violence. Second, the government cites to

Edmond to address widespread jury pool injury, but Edmond did not involve a single,

shocking event of alleged mass violence, and as such, the reporting of those injuries

was qualitatively different in important respects. This difference manifested in most

potential jurors lacking knowledge about the case. Finally, the D.C. jury pool is both

smaller in size and more homogenous than those in the cases relied upon by the

government. Each of these shortcomings is explored in turn infra, sections (i)-(iii).


                                           4
       Case 1:21-cr-00024-TNM Document 84-1 Filed 01/11/22 Page 5 of 20




             1.     Voting demography was insufficiently relevant to the injuries
                    resulting from the charged conduct in Haldeman.
      The government overstates the authority and applicability of Haldeman in the

Response. Specifically, the government opens its briefing by asserting, without

limitation, that in this District, voting demographics have no bearing on the

assessment of prejudice for the purposes of a transfer motion. See Gov’t Resp., ECF

No. 72 at 1 (citing Haldeman, 559 F.2d at 64 n. 43). But the government fails to note

that the Haldeman quote upon which it relies for this argument is dictum. More

importantly, the dictum concerned an issue neither briefed nor argued by either party

in motions or on appeal in Haldeman: it was raised only by the dissenting appellate

judge, as the per curiam opinion seeks to underscore. Haldeman, 559 F.2d at 64 n.

43. Indeed, the thrust of the per curiam’s disposition of the issue deals with the

inappropriateness of the dissenting opinion reaching beyond the record for a finding

of prejudice. Id. (“[U]ndeterred by the absence of any reference to voting results

anywhere in the record or the appellate briefs, the dissent introduces the subject”).

And yet despite the lack of precedential value in the single quote upon which the

government relies, the government boldly declares that “[f]orty-five years ago, the en

banc D.C. Circuit rejected the argument made by defendant Robert Gieswein here.”

Gov’t Resp., ECF No. 72 at 1. 2


      2  This is not the only mischaracterization of the Haldeman opinion in the
Response. The government also says that the D.C. Circuit held that there was no
prejudice despite the fact that “93 percent of the Washington, D.C. population knew
about the charges against the Haldeman defendants and 73 percent of those
individuals had an opinion of the defendants’ guilt or innocence,” omitting that the
report it cites was from the dissenting opinion and was found to be unreliable by both
the trial judge and the per curiam opinion. Compare Gov’t Resp., ECF No. 72 at 1,


                                          5
       Case 1:21-cr-00024-TNM Document 84-1 Filed 01/11/22 Page 6 of 20




      Not only does the government exaggerate the force of the Haldeman dictum,

but it also avoids engaging in any analysis as to why the majority believed that voting

patterns were not relevant in the Haldeman case. A closer look reveals that Mr.

Gieswein’s case is distinguishable. The Haldeman proceedings involved many

campaign aides who participated in the Watergate scandal. Haldeman, 559 F.2d at

52-59 (factual background on the Watergate scandal). As the Court is no doubt aware,

those aides illegally sought advantage for President Nixon’s reelection campaign by

surveilling the activities of the Democratic National Committee. See id. at 52

(observing that the purpose of the plan was to gather political intelligence). Of course,

the conduct was incendiary, and political. But the main targets and victims of that

conduct were Democratic candidates, not voters themselves. See id. At best, all

Americans, Democratic and Republican alike, were indirectly and abstractly injured

by the conduct, insofar as the defendants sought to cheat them of their intangible

right to fair and honest campaigns.

      By contrast, the events that took place on January 6, 2021 have been routinely

characterized by the government, media outlets, and private citizens as an attempt

to “overturn” the results of the 2020 election. Put differently, the events were

allegedly intended to effectively steal the vote of Democratic voters who elected

President Biden. For Democratic voters everywhere, such deprivation would have

been felt as a concrete and particularized injury, akin to disenfranchisement, which


with Haldeman, 559 F.2d at 64 n. 43 (“[T]he dissent relies heavily on two disparate,
though equally suspect, indicia”). This lack of reliability—not the statistics—was
cited by the court as a basis for denying transfer. Haldeman, 559 F.2d at 64 n. 43.


                                           6
       Case 1:21-cr-00024-TNM Document 84-1 Filed 01/11/22 Page 7 of 20




courts have recognized as an injury in other contexts. 3 For Democratic voters in the

District, the injury could be expected to be felt particularly acutely, given that

presidential elections are the only national elections in which District residents can

vote. And notably, while the District has leaned heavily Democratic for decades, the

proportion of Democratic voters has increased by more than 10% since the time that

Haldeman was decided. 4

      In short, District Democratic voters were not nearly as likely to feel themselves

to be direct targets of the attempted political acts in Haldeman as they allegedly were

here – according to the government’s theory, and much of the national and local media

– and they make up a materially larger share of the jury pool than they did 50 years




      3  See, e.g., Richardson v. Texas Sec’y of State, 485 F. Supp. 3d 744 (W.D. Tex.
2020) (recognizing disenfranchisement as injury in fact); Fish v. Schwab, 957 F.3d
1105, 1119 (10th Cir.), cert. denied, 141 S. Ct. 965 (2020) (same); U.S. Student Ass’n
Found. v. Land, 585 F. Supp. 2d 925 (E.D. Mich. 2008) (same); cf. El-Amin v.
McDonnell, No. 3:12-CV-00538-JAG, 2013 WL 1193357, at *5 (E.D. Va. Mar. 22,
2013) (no injury resulting from deprivation of voting rights where party has not yet
sought reinstatement through channels offered). Although “disenfranchisement”
typically refers to governmental action resulting in the deprivation of the right to
vote, federal courts have recognized effective disenfranchisement by private parties
in other contexts. See, e.g., Federspiel v. Ohio Republican Party State Cent. Comm.,
867 F. Supp. 617, 625 (S.D. Ohio 1994), aff’d, 85 F.3d 628 (6th Cir. 1996).
      4 Compare Haldeman, 559 F.2d 31, 160 (“The Statistical Abstract of the United
States (1973) indicates that the candidate of the Democratic Party for President in
1968 received 81.8% of the total vote cast in the District of Columbia and in 1972
received 78.1% of that vote.”), with General Election 2020: Certified Results, DC Board
of Elections (Dec. 2, 2020) (reporting that President Biden received 92% of the total
vote cast in the District in 2020), https://electionresults.dcboe.org/election
_results/2020-General-Election.


                                          7
       Case 1:21-cr-00024-TNM Document 84-1 Filed 01/11/22 Page 8 of 20




ago. As such, whether it was or was not Haldeman, voting demography is an

appropriate factor to consider in this case. 5

             2.     Voir dire showed that the Edmond defendant and his charged
                    conduct was relatively unknown to the D.C. jury pool.
      Voting demography is far from the only reason why residents in the District

are more likely to be “peculiarly” interested in the events of January 6. As Mr.

Gieswein previously argued and as the government concedes in the Response, an

enormous share of District of Columbia residents were directly affected by the events

of January 6, or have connections to individuals and institutions that were directly

affected by physical violence on January 6. Def. Mot. to Transfer Venue, ECF No. 64

at 4-7. Indeed, as discussed in the opening motion, all D.C. residents were under

curfew on January 6, and many experienced the terrifying Capitol complex

lockdown. 6 Instead of disputing the reasonable inference that such connections have



      5  In each “high profile” political case that the government cites in support of
keeping Mr. Gieswein’s case in the District, democratic voters neither sustained nor
were at risk of sustaining any personal injury. See Gov’t Resp., ECF No. 72 at 7 (“[T]he
District has been home to its fair share of trials in politically charged cases. High-
profile individuals such as John Poindexter, Oliver North, Scooter Libby, and, more
recently, Roger Stone, all received fair trials in this jurisdiction by unbiased juries.”)
(citing United States v. Poindexter, 951 F.2d 369 (D.C. Cir. 1991); United States v.
North, 910 F.2d 843 (D.C. Cir. 1990); United States v. Stone, Cr. No. 19-0018 (ABJ),
2020 WL 1892360 (D.D.C. April 16, 2020); and United States v. Libby, 498 F. Supp.
2d 1 (D.D.C. 2007)). Mr. Gieswein readily concedes that mere speculation about jury
pool bias based on voting history is insufficient for transfer in cases where no actual
injury is sustained, and that these cases were correctly decided. However, in his case,
actual injury to D.C. democratic voters is alleged in one of the very charges brought
against him, putting voter demographics in a separate and heightened category of
relevance here.
      6See also Laurel Wamsley, A Timeline Of Security Response At The Capitol On
Jan. 6, WAMU (Jan. 15, 2021) (documenting the Capitol complex lockdown and
curfews implemented by the Mayor), https://www.npr.org/2021/01/15/956


                                            8
       Case 1:21-cr-00024-TNM Document 84-1 Filed 01/11/22 Page 9 of 20




a high likelihood of producing bias, the government purports to dispense with the

viability of the argument by analogizing to a D.C. case involving a drug distributor of

crack-cocaine in which transfer was denied. See Gov’t Resp., ECF No. 72 at 8 (citing

United States v. Edmond, 52 F.3d 1080 (D.C. Cir. 1995)). 7

      In Edmond, the case relied upon by the government, the defendants were

charged with running a sustained, large-scale drug operation in the District at the

height of the crack-cocaine epidemic. Id. at 1084. While the impact of the crack

epidemic—a true public health crisis—was unquestionably broad, the impact was

qualitatively different than that of this single day of mass violence. While it is true

that many D.C. residents were victimized by the crack-cocaine epidemic, the damage

it caused was so sustained and chronic that, over course of a decade, reporting about



842958/what-we-know-so-far-a-timeline-of-security-at-the-capitol-on-january-6.
Additionally, many residents were deeply affected by the sheer physical proximity to
the violence. See, e.g., ‘It Was An Attack On Our Hometown’: How 11 Washingtonians
Remember The Insurrection, DCist (Jan. 5, 2022) (“As Hunter surveyed the riot
engulfing the Capitol, he realized there was one key difference from his combat
experience. ‘Emotionally, it was different because you’re on your home soil,’ he says.
‘You’re in your city.’”), https://dcist.com/story/22/01/05/dc-locals-jan-6-capitol-
insurrection-anniversary/.
      7  The government also argues elsewhere in the Response than the effects of
physical proximity and these connections are attenuated by the passage of time. Yet,
a recent Pew poll showed just the opposite: the only reported decline in a desire to
redress the injuries through prosecution was among Republican voters. See John
Gramlich, A Look Back at Americans’ Reactions to the Jan. 6 Riot at the U.S. Capitol,
Pew (Jan. 4, 2022) (“Around eight-in-ten Republicans (79%) said in the March survey
that it was very or somewhat important to find and prosecute the Capitol rioters. By
September, 57% expressed that view. Among Democrats, 95% said in both surveys
that it was very or somewhat important to find and prosecute the rioters.”),
https://www.pewresearch.org/fact-tank/2022/01/04/a-look-back-at-americans-
reactions-to-the-jan-6-riot-at-the-u-s-capitol/. This research shows that the interest
in holding participants accountable has not declined at all among Democrats.


                                          9
      Case 1:21-cr-00024-TNM Document 84-1 Filed 01/11/22 Page 10 of 20




it likely became part of the background noise in the city. It is no surprise, given the

nature of the injury, that the D.C. Circuit was ultimately unpersuaded that the

reporting on the issue, or the prosecution, was concerning, noting that it was not

focused on any single event, or single group of people. See id. at 1099 (emphasizing

that the defendants submitted reporting about drug-related issues in general, as

opposed to specific events involving the defendants). As the court pointed out: a small

proportion of the jurors had been exposed to pre-trial media about the case, not just

the defendants by name. Id. at 1096 (observing that the case was discussed in the

media as “the Rayful Edmonds case,” therefore asking prospective jurors about

familiarity with the lead defendant’s name—which few recognized—was a good proxy

for their knowledge of the case and issues in general). Indeed, the familiarity with

the case was the reason cited by the court for finding that the voir dire was acceptable,

despite falling “short of the ideal.” Id. at 1098-99.

      Here, by contrast, the events of January 6 were an acute shock to the system

of the people of the District of Columbia, both in their roles as (mostly) Democratic

voters, and in their roles as residents of a small city, many of whom work for the

federal government, including Congress, the Capitol Police, and the Metropolitan

Police Department in particular. District residents have been and continue to be

exposed to an onslaught of reporting about the shocking events of that single day in

January. 8 That is why, unlike the potential jurors in Edmond, most Americans report


      8 Ex. 1, Def. Mot. to Transfer, ECF No. 64-1. In fact, in tabulating the
comparative media coverage by region, defense counsel ran into database limitations
because of the volume of terms matches for combinations of “insurrection,” “Capitol,”


                                            10
        Case 1:21-cr-00024-TNM Document 84-1 Filed 01/11/22 Page 11 of 20




a high degree of familiarity with the event, as found by the Pew Research Center in

a poll cited in the opening motion. See Def. Mot. to Transfer Venue, ECF No. 64 at

12. 9

              3.     Key features of the jury pools in the cases relied upon by the
                     government are readily distinguishable from the jury pool for the
                     District of Columbia.
        Finally, the jury pool for the District of Columbia is geographically smaller and

less diverse than the pools analyzed by the First and Fifth Circuits in Tsarnaev and

Skilling. See United States v. Tsarnaev, 968 F.3d 24, 55 (1st Cir. 2020); Skilling, 561

U.S. at 382. For example, while Tsarnaev was indeed a compelling case for transfer, 10

the District of Massachusetts Eastern Division jury pool is broad, pulling from nine

different counties, including many diverse locales—some rural, some urban; some




and “Jan. 6,” even for extremely limited date ranges. For example, a Westlaw search
of media referring to the event as an “insurrection” returned more than 3,000 hits for
January 6 and 7, 2021 alone. The staggering volume of reporting has not changed
much in one year: the same search yields more than 7,000 hits for the last month of
reporting.
        9Of course, familiarity extends beyond the jury pool in the District. However,
for the reasons cited in subsection (i), and as explained supra Part A, D.C. residents
are more likely to be impacted by this reporting.
        10The government apparently finds it persuasive that under a deferential
standard of review, two out of three appellate judges “would likely find” that the trial
judge abused no discretion in declining to transfer venue in Tsarnaev. See Gov’t Resp.,
ECF No. 72 at 9 (quoting Tsarnaev, 968 F.3d 24) (emphasis added). However, Mr.
Gieswein submits that the lengthy and powerful dissents on the issue of venue in
both the 2020 Tsarnaev appeal and the original 2015 appeal indicate that reasonable
minds may differ. See Tsarnaev, 968 F.3d at 109 (Torruella, J., concurring in part)
(“A presumption of prejudice was warranted”); and In re Tsarnaev, 780 F.3d 14, 29
(1st Cir. 2015) (Torruella, J., dissenting). Moreover, certiorari was recently granted
by the Supreme Court to review the latest appellate decision. 141 S. Ct. 1683 (2021).
Thus, it is far from a foregone conclusion that Tsarnaev was correctly decided.


                                           11
      Case 1:21-cr-00024-TNM Document 84-1 Filed 01/11/22 Page 12 of 20




wealthy, some poor; some almost entirely white (non-Hispanic), some racially and

ethnically diverse; some with high levels of educational attainment, others with low

levels of such attainment. 11 This diversity was revealed in the findings of the survey

developed by the defense team itself, which showed that other, less diverse jury pool

districts actually had a far greater proportion of respondents report a belief about

Tsarnaev’s guilt that those within the division in which he was indicted. Tsarnaev,

968 F.3d at 48 (“[T]he percentage of people who believe Dzhokhar is guilty is greater

in those locales than in the Eastern Division”). The figure from the Eastern

Division—that 68% of residents had pre-trial beliefs about guilt—reflects a range of

sentiment that one would expect in such a geographically broad and demographically

diverse jurisdiction. 12




       11See Revised Jury Plan, U.S. Courts (Nov. 1, 2015) (Eastern District includes
“[t]he Counties of Essex, Middlesex, Suffolk, Norfolk, Bristol, Plymouth, Barnstable,
Dukes, and Nantucket.”), https://www.mad.uscourts.gov/resources/pdf/RevisedJury
Plan.pdf. For a comparison of demographic features by county, see, e.g., Nantucket
County, Data USA, https://datausa.io/profile/geo/nantucket-ma/, and Suffolk County,
Data USA, https://datausa.io/profile/geo/suffolk-county-ma#demographics.
       12 Notably, in contrast to Massachusetts, Tsarnaev’s survey showed that 86%
of respondents in D.C. held beliefs about guilt, which seemingly underscores the point
that jury pool diversity is essential to mitigating prejudice: despite a lower saturation
of media about Tsarnaev on average, the District’s comparable lack of diversity may
have tended to create more of a consensus about guilt among its residents. See also
CBS, Inc. v. U.S. District Court, 729 F.2d 1174, 1181 (9th Cir. 1984) (“The size and
heterogeneity of such communities make it unlikely that even the most sensational
case will become a ‘cause celebre’ where ‘[t]he whole community ... becomes interested
in all the morbid details.’”); see also United States v. Awadallah, 457 F. Supp. 2d 246,
253 (S.D.N.Y. 2006) (relying on diversity within the district as the primary basis for
declining a transfer) (“[T]he Southern District of New York serves one of the country’s
most diverse cross-section of ethnicities, backgrounds, and experiences”); United
States v. White, No. 02 Cr. 1111, 2003 WL 721567, at *5 (S.D.N.Y. 2003) (same).


                                           12
      Case 1:21-cr-00024-TNM Document 84-1 Filed 01/11/22 Page 13 of 20




      Similarly, in Skilling, the Fifth Circuit observed that because Houston was, at

the time, the fourth-largest city in the United States, and highly diverse, a significant

number of prospective jurors would have had no connection to Enron whatsoever.

Skilling v. United States, 561 U.S. 358, 382 (2010) (“4.5 million individuals eligible

for jury duty resided in the Houston area”). And indeed, voir dire ultimately showed

that the selected jurors knew very little about Enron, and reported being

disinterested in the matter. See id. at 389-90.

      In sharp contrast to the District of Massachusetts Eastern Division and the

Southern District of Texas, the District of Columbia jury pool is made up of juror from

just one locale: the District of Columbia. It is geographically small, bounded by the

limits of the urban city itself. It has a population of just under 700,000, and the real

pool of jurors is likely much smaller, since many residents will be disqualified due to

their proximity to the events of January 6. 13 Moreover, while Mr. Gieswein is

expected to be tried earlier than many other January 6 defendants, it remains

relevant to the analysis that fewer than 700,000 D.C. residents could be called upon

to serve as jurors in each of the 704 January 6 cases that do not conclude with a plea:

this is not a matter of finding 14 jurors for one defendant against whom many are

biased; rather, it is a matter of finding potentially thousands of jurors for hundreds

of similarly prejudiced defendants. When the number of January 6 cases are




      13 See Def. Mot. to Transfer Venue, ECF No. 64 at 4-5 (citing both the current
District population as well as federal employment statistics).


                                           13
      Case 1:21-cr-00024-TNM Document 84-1 Filed 01/11/22 Page 14 of 20




accounted for, the proportional number of residents to defendants actually falls far

below the number of jurors available in the small county in Rideau. 14

      C.     General prejudice held by jurors against those involved in January 6
             will be transferred to Mr. Gieswein.
      In the Response, the government argues that because Mr. Gieswein is not

personally named in a majority of the articles and other reporting about January 6,

and because many potential jurors may not know of him by name before trial, he is

not entitled to a presumption of prejudice. See Gov’t Resp., ECF No. 72 at 11-12. This

simply makes no sense: prejudice against a defined group of people is commonly

attributed to an individual as soon as their status as a member of the group is

learned—it is the basic precept of equal protection law and its regulatory progeny.

See, e.g., 42 U.S.C. 3601(k) (prohibits inquiries into protected class membership that

is not readily apparent, such as familial status, because it is widely understood that

learning of membership transfers the prejudice from the group to the individual). As

soon as the jurors who are prejudiced against January 6 participants realize that Mr.

Gieswein is a member of that particular group, he will enter the ambit of their

prejudice. For that reason, inflammatory articles, documentaries, and comments by

government officials—including the judiciary—about the January 6 participants are

relevant to the prejudice inquiry, even if they never mention Mr. Gieswein.




      14 Rideau involved a parish with a population of 150,000, from which a jury
was to be selected for a single defendant. 373 U.S. 723, 724 (1963). Here, that figure
is less than 1,000 potential jurors per January 6 defendant (not accounting for
anticipated juror disqualifications and defendant pleas).


                                         14
      Case 1:21-cr-00024-TNM Document 84-1 Filed 01/11/22 Page 15 of 20




       The government proffered similarly flawed logic United States v. Salim, in

which it argued that the defendant could not be prejudiced by his association with

“terrorism” in general. 189 F. Supp. 2d 93, 96 (S.D.N.Y. 2002). The court addressed

the problem in its opinion, noting that “[t]he Government’s response, however, does

not address the eventuality that […] Salim will indeed be associated with crimes of

terrorism.” Id. It further observed that “[i]t is the Court’s responsibility to assess the

possible prejudicial effect of pretrial publicity based upon the possibility that evidence

connecting Salim to terrorism may be presented.” Id. Although no presumption

ultimately applied in Salim, it was because the court found that the crime itself was

relatively unknown, not just the defendant, as in Edmond. See id.; see also Edmond,

52 F.3d 1096 (observing a lack of pre-trial familiarity about the case among potential

jurors).

       Here, by contrast, the awareness about the events on January 6 are known by

most Americans, though as a survey published in the Washington Post recently

confirmed, the opinions about the events have been deeply divided along political

lines. 15 The high level of awareness is easily attributable to the constant news cycle,

as Mr. Gieswein documented in Exhibit 1 filed with his opening motion. See Def. Mot.




       15“Nearly seven-in-ten adults (69%) say they have heard ‘a lot’ about the
rioting at the U.S. Capitol on Jan. 6.” Views on the Rioting at the US Capitol, Pew
Research Center (Jan. 15, 2021), https://www.pewresearch.org/politics/2021/01/15/
views-onthe-rioting-at-the-u-s-capitol/; see also Dan Balz, Scott Clement and Emily
Guskin, Republicans and Democrats Divided Over Jan. 6 Insurrection and Trump’s
Culpability, Post-UMD Poll Finds, Washington Post (Jan. 1, 2022), https://www.
washingtonpost.com/politics/2022/01/01/post-poll-january-6/.


                                           15
      Case 1:21-cr-00024-TNM Document 84-1 Filed 01/11/22 Page 16 of 20




to Transfer Venue, ECF No. 64-1. 16 And, although the government seeks to downplay

the effect of that reporting by characterizing it as purely “factual” in the Response, it

is objectively inflammatory: whereas Tsarnaev and Moussaoui were actually charged

with counts of terrorism when labeled as terrorists by the media, the January 6

participants, including Mr. Gieswein, are repeatedly referred to as “domestic

terrorists” despite not being charged with any count of terrorism. 17 Cf. In re Tsarnaev,

780 F.3d at 22 (“It is true that there has been ongoing media coverage […] But […]

the reporting has largely been factual.”).

      Amplification of the charges in the media through intentionally loose

colloquialism is necessarily editorialized reporting, not just “the facts” as the

government contends. A recent Washingtonian Magazine article about the detained

January 6 defendants asked “[w]hat’s life like on the inside for the most hated




      16Indeed, as of this writing, the top story on Apple News is about the ongoing
relevancy of January 6. Billy House and Erik Wasson, Jan. 6’s Wounds in Congress
Run Deep, and Trump Keeps Them Fresh, Bloomberg (Jan. 6, 2022), https://apple.
news/A5DkuBJhPQaWTsLTCBJnvPw. Because current reporting is relevant to the
analysis here, Mr. Gieswein respectfully reserves the right to supplement the
comparative media data provided in the opening motion.
      17   See, e.g., Nicole Gaouette, Terrifying Scope of Capitol Attack Becoming
Clearer, CNN (Jan. 16, 2021) (“[D]ozens of people on a terrorist watch list came to
Washington for the January 6 events. The majority of them were suspected white
supremacists with track records so disturbing they were put on the national Terrorist
Screening Database as potential security risks.”), https://www.cnn.com/2021/01/16/
politics/insurrection-investigation-washington-lockdown/index.html; see also One
Year Since the January 6 Insurrection, Brookings (Jan. 5, 2022) (“One year ago this
week, a violent mob of President Donald Trump’s political supporters […] committed
an act of domestic terrorism against the U.S. Capitol.”),.


                                             16
      Case 1:21-cr-00024-TNM Document 84-1 Filed 01/11/22 Page 17 of 20




political group in the city?” 18    With local publications making such a bold,

pronouncements, it is difficult to see how the government can continue to argue that

the reporting neither reflects prejudices that put at risk Mr. Gieswein’s right to an

impartial jury, nor creates them.

      D.     The circumstances presented in Mr. Gieswein’s case track closely with
             those in McVeigh, a case in which transfer was granted.
      The facts of January 6 and the resulting impact on the community are much

more analogous to those in United States v. McVeigh than the cases relied upon by

the government. 918 F. Supp. 1467 (W.D. Okla. 1996). In McVeigh, the defendant,

Timothy McVeigh sought revenge on the federal government for the events that

unfolded in the infamous Waco siege in 1993. 19. According to various reporting from

the time, McVeigh, an avid gun collector who was portrayed by the government as a

White Nationalist militia man, believed that the siege represented extreme

government infringement of individual rights, specifically on the right to bear

arms. 20. To effectuate his revenge for this “infringement,” he traveled from out of

state—Arizona to Oklahoma—and attacked a federal building, killing 168




      18 Andrew Beaujon, The January Sixers Have Their Own Unit at the DC Jail.
Here’s What Life Is Like Inside, Washingtonian Magazine 38 (Jan. 3, 2022). Note that
the subtitle only appears in the print issue.
       See The McVeigh Letters, Guardian (May 6, 2001), https://www.theguardian.
      19

com/world/2001/may/06/mcveigh.usa.
      20 See id.; see also Michael Barkun, Oklahoma City and the Rise of the Militias
255–290 (1997); see also Mark Lawson Fetter, The Criminal Behavior and
Motivations Behind McVeigh’s Decision to Bomb the Murrah Federal Building, Cal.
State Univ. (June 2002), https://scholarworks.lib.csusb.edu/cgi/viewcontent.cgi
?article=3253&context=etd-project.


                                         17
      Case 1:21-cr-00024-TNM Document 84-1 Filed 01/11/22 Page 18 of 20




government employees and their children with a homemade bomb. McVeigh, 918 F.

Supp. at 1469.

      McVeigh was repeatedly portrayed by the prosecution as an outsider extremist,

just like the defendants who participated in the events on January 6. 21 And the court

in McVeigh was so persuaded by these dynamics that, despite significant national

news coverage of the bombing, and despite the fact that a small percentage of

Oklahoma City residents worked for or had connections to the federal government,

the district court granted McVeigh’s motion to transfer venue from Oklahoma,

observing that “[t]he effects of the explosion on that community are so profound and

pervasive that no detailed discussion of the evidence is necessary.” McVeigh, 918 F.

Supp. at 1470. 22




      21“Prosecutors in the Timothy McVeigh bombing trial Monday began to paint
a picture of the defendant as a gun-loving, right-wing extremist who pored over
writings celebrating violence.” McVeigh Painted as Gun-loving Political Extremist,
CNN (Apr. 28, 1997), http://www.cnn.com/US/9704/28/mcveigh.wrap/.
      22 The government cites to the Fourth Circuit case United States v. Moussaoui,
43 F. App’x 612 (4th Cir. 2002) in support of the proposition that cases involving high-
profile attacks, like McVeigh, may be tried where the attack occurred without a
presumption of prejudice, see Gov’t Resp., ECF No. 72 at 5; however, the change of
venue motion that the district court denied in Moussaoui was filed pro se and the
Fourth Circuit determined in its unpublished opinion that the Court of Appeals had
no jurisdiction to review his appeal. 43 F. App’x at 613. The issue was never actually
decided by that court. See id. Given the lack of legal briefing and court analysis on
this issue (just like in Haldeman), Moussaoui should not be considered persuasive
authority. And in United States v. Youssef, another case relied upon by the
government for the same proposition, the Second Circuit, in applying a deferential
standard of review, found it compelling that the defendant had not renewed his
motion to transfer venue following voir dire, indicating that he was satisfied with the
empaneled jury. See 327 F.3d 56, 155 (2d Cir. 2003). That is simply inapplicable here.


                                          18
      Case 1:21-cr-00024-TNM Document 84-1 Filed 01/11/22 Page 19 of 20




II.   A juror questionnaire is necessary as an alternative to transfer.
      Mr. Gieswein respectfully maintains that while venue should be changed.

However, should the transfer request be denied, due to the high probability of

prejudice documented herein, Mr. Gieswein requests, in the alternative, that the

Court use a comprehensive juror questionnaire as a means to screen jurors with

actual bias from the jury pool. Mr. Gieswein requests that he be permitted to submit

a sample questionnaire for the trial Court’s consideration at a time closer to trial.

                                   CONCLUSION

      For all of these reasons, those previously given, and such others as may be

advanced at a hearing on this matter, Mr. Gieswein respectfully requests that the

Court order that the case be transferred to another venue.

      Respectfully submitted on January 11, 2022.

                                               ROBERT GIESWEIN
                                               by counsel:

                                               Geremy C. Kamens
                                               Federal Public Defender for the
                                               Eastern District of Virginia

                                               by:________s/_______________

                                               Ann Mason Rigby
                                               DC Bar No. 491902

                                               Elizabeth A. Mullin
                                               DC Bar No. 484020
                                               Assistant Federal Public Defenders
                                               1650 King Street, Suite 500
                                               Alexandria, Virginia 22314
                                               Telephone: (703) 600-0869
                                               Facsimile: (703) 600-0880


                                          19
Case 1:21-cr-00024-TNM Document 84-1 Filed 01/11/22 Page 20 of 20




                                    ann_rigby@fd.org
                                    elizabeth_mullin@fd.org

                                    Maia Livengood
                                    DC Bar No. 1724598

                                    On loan to
                                    Office of the Federal Public Defender
                                    Telephone: (703) 600-0895
                                    Facsimile: (703) 600-0880
                                    maia_livengood@fd.org




                               20
